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[4/12/23, 3:49:47 PM]         The Fixer          Yea. If you’re not going to use that much
might not make that much sense. I’ve asked them if you aren’t present what rules are if
others are using if as your guest but have not heard back
[4/13/23, 6:19:37 AM]         The Fixer          Good Morning,

I am working on this deal for the Crypto transfer. he said he can do USDT or USDC.

Would you mind sharing your address details on where he would need to send each coin?
[4/13/23, 7:59:43 AM]     The Fixer          and I guess I should ask, what total is that
you are ok taking?

This guy wants to spend really big. Looking at a jet for around 333K EUR + villa, yacht,
helicopters, excursions, etc in Dubai.

For USD Value, will be over 500K for sure.
[4/13/23, 1:33:53 PM] Tom Goldstein: I can deﬁnitely take $500k crypto. But I have to
structure it as a purchase. Like I’m going to have a record of buying it from him. Or from you.
I need to do that bc I’m going to send it to     as his share of poker.
[4/13/23, 1:34:32 PM] Tom Goldstein: I’m going to pass on                        , at least at this
exact moment. I’m playing          next week. And if I win I’ll do it as just a “fuck it” thing.
[4/13/23, 1:40:18 PM]         The Fixer          No problem. It’s not cheap by any means
and if you don’t go at least 10-15x makes no sense. Or if your not london based really. I’ll let
them know.

But if you win and it’s open, I’ll of course push it for you.
[4/13/23, 1:41:29 PM] Tom Goldstein: Ty
[4/13/23, 1:41:44 PM]            The Fixer          Amazing news. Thank You. I didn’t think this
kid was going to go so big. He is a player too so as I build I’ll intro you
[4/13/23, 1:41:50 PM] Tom Goldstein: Nice
[4/13/23, 1:42:06 PM]            The Fixer          Just lmk how you need to structure it and im
happy to do whatever.
[4/13/23, 1:42:21 PM]            The Fixer          Kids only 24 and already at like 500k
[4/13/23, 1:42:28 PM] Tom Goldstein: Strong
[4/13/23, 1:42:32 PM]            The Fixer          And he hasn’t even got there lol 😂
[4/13/23, 1:42:42 PM] Tom Goldstein: Jeez
[4/13/23, 1:43:14 PM] Tom Goldstein: I would have him send it to a wallet of yours. Then do
an invoice to sell it to me. I’ll wire to you and have you send the coins for me.
[4/13/23, 1:43:47 PM]            The Fixer          I will likely need him to do his ﬁrst transfer
tomorrow for the villa, excursions, and jet. I’ll have an exact amount later to you. Need to
ﬁnish out the invoice.

How much do you want to do it ?

                                                                                 Exhibit 3
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[4/13/23, 1:44:25 PM]          The Fixer        Sounds good. I have one of those cold
wallet things. One of those or a online one? Sorry this is way over my head. I don’t do shit
with crypto.
[4/13/23, 1:44:53 PM] Tom Goldstein: It doesn’t matter to me how you do your wallet.
[4/13/23, 1:44:58 PM] Tom Goldstein: 500k is ﬁne
[4/13/23, 1:45:34 PM]          The Fixer        What do you suggest to use for an amount
like this ? Any speciﬁc platform ?
[4/13/23, 1:45:46 PM]          The Fixer        Sorry to ask such a stupid question.
[4/13/23, 1:46:49 PM] Tom Goldstein: It doesn’t matter so long as your accounting is sound.
A lot of people would just buy a cold wallet.
[4/13/23, 1:47:59 PM]          The Fixer        Sounds Good! I have a ledger one
[4/13/23, 1:48:48 PM] Tom Goldstein: Perfect
[4/13/23, 1:49:19 PM]          The Fixer        Appreciate this. Lmk how much you want to
do this for me. I appreciate it.
[4/13/23, 1:49:41 PM] Tom Goldstein: It will depend on poker, ty
[4/13/23, 1:59:37 PM]          The Fixer        Sounds Good! When you playing ?
[4/13/23, 2:00:00 PM]          The Fixer        Are you out in Coachella already?
[4/13/23, 2:01:06 PM] Tom Goldstein: Tonight Coachella. Lost this week. Back next week.
[4/13/23, 2:02:32 PM]          The Fixer        Well enjoy Coachella. Should be good.
Heard it’s cold though. If you need anything lmk.

And I’ll be back on invoice info and totals and should be able to ﬁnish this up tomorrow. But
I’ll talk to the guy to make sure he can do the transfer tomorrow to me, and then I’ll transfer
to you and sign the doc
[4/13/23, 4:27:16 PM]          The Fixer           Currently invoice is at 582,019.78.

Will know tomorrow but maybe another 40-50k for a drone show and some other random
stun.

Will that be too much for the coin?

Sorry I thought I was overshooting with 500k
[4/13/23, 4:30:30 PM] Tom Goldstein: I can do the 500 now and hopefully more soon
[4/13/23, 4:32:06 PM]        The Fixer         Ok perfect. Thank You very much and you
can keep $25k from this one. And I should be able to get rest to you before end of month
[4/13/23, 4:34:57 PM] Tom Goldstein: No need
[4/13/23, 4:39:45 PM]        The Fixer         Thank You, appreciate it. will be back to you
tomorrow.
[4/13/23, 4:39:54 PM]        The Fixer         Is tieg making it out or too much liability ?
[4/13/23, 4:43:18 PM] Tom Goldstein: So far
[4/13/23, 4:46:20 PM]        The Fixer         good luck and enjoy.

[4/13/23, 4:53:09 PM] Tom Goldstein: Yaya’s
[4/14/23, 8:39:59 AM]       the Fixer
                           The  Fixer            Good Morning,


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How was the ﬁrst night. I have the ﬁrst 230k USDC ready to go and rest should be in later
today.
[4/14/23, 8:41:43 AM] Tom Goldstein: Ok cool. If you need a wire today lmk bc I’ll be
distracted by Coachella
[4/14/23, 8:43:35 AM]          The Fixer          That would be ideal if you don't mind doing,
I will have the other funds for 500K total in 90 mins or so
[4/14/23, 8:43:50 AM]          The Fixer          he just had to step into a meeting, and
wanted to do a test send ﬁrst.
[4/14/23, 8:47:02 AM]          The Fixer          So in next few hours, I can get you the 500k
to your wallet
[4/14/23, 8:47:46 AM] Tom Goldstein: I probably won’t have you send it out today
[4/14/23, 8:50:10 AM]          The Fixer          ok, just let me know when. I will have it
avaliable for you and of course good for it
[4/14/23, 8:50:36 AM]          The Fixer          do you want an INV for the 500k and what
do you want me to put on it for your accounting purpose?
[4/14/23, 8:52:16 AM] Tom Goldstein: Yes please. It’s an invoice for me to purchase $500k
in whichever coin. That’s all I need.
[4/14/23, 8:53:44 AM]          The Fixer          ok
[4/14/23, 8:53:56 AM]          The Fixer          Give me 5 mins
[4/14/23, 8:54:11 AM] Tom Goldstein: I’m obv in no rush
[4/14/23, 9:21:23 AM]          The Fixer          Goldstein, Invoice INV-1349 - USDC
Purchase .pdf • 2 pages <attached: 00023118-Goldstein, Invoice INV-1349 - USDC
Purchase .pdf>
[4/14/23, 10:38:35 AM]          The Fixer           <attached: 00023119-PHOTO-2023-04-14-
10-38-35.jpg>
[4/14/23, 10:43:21 AM] Tom Goldstein: So cool. I’m with a group of 10. I have artist passes.
Don’t know if that’s dinerent. And they also put on these wristbands you can’t remove.
[4/14/23, 10:43:57 AM]          The Fixer           will let you know for sure! They got
production ones, which means you are a "producer" can basically go everywhere and
anywhre
[4/14/23, 10:44:07 AM]          The Fixer           but Artist passes also amazing too
[4/14/23, 10:44:30 AM]          The Fixer           I am sure you guys will have fun,

[4/14/23, 10:49:09 AM] Tom Goldstein: Hahaha. Ya ﬁrst big party last night.
[4/14/23, 10:57:50 AM]      The Fixer         How was it?
[4/14/23, 11:00:19 AM] Tom Goldstein: Good good time
[4/14/23, 11:04:35 AM]      The Fixer

[4/14/23, 11:12:29 AM] Tom Goldstein: Jeez. Such a dinerence.
[4/14/23, 11:21:06 AM]        The Fixer            You’re a bro!
[4/14/23, 11:21:18 AM]        The Fixer            Pro* but also bro
[4/14/23, 2:49:25 PM] Tom Goldstein: Wire instructions sent. Don’t know if they apply the
330p PT cuton. Will be there either today or ﬁrst thing Mon.


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[4/14/23, 2:49:55 PM]         The Fixer          Thank You 🙏 appreciate it. I’ll conﬁrm once
it hits our account of course.
[4/17/23, 8:05:34 AM]         The Fixer          Good Morning,

How was the rest of the weekend? Just wanted to let you know the wire just hit us, so thank
you for getting that over. I appreciate it.
[4/17/23, 10:42:09 AM] Tom Goldstein:

[4/17/23, 10:43:01 AM]      The Fixer           Omg.
[4/17/23, 10:43:07 AM]      The Fixer           Legenddd
[4/17/23, 10:43:14 AM]      The Fixer           When we doing your book ?
[4/17/23, 10:43:17 AM] Tom Goldstein: Solid 8 of a day
[4/17/23, 10:43:52 AM]      The Fixer           What’s next destination ?
[4/17/23, 10:46:30 AM] Tom Goldstein: DC tomorrow
[4/17/23, 10:48:45 AM]      The Fixer           Nice. Bless you. My story isn’t as good.

[4/17/23, 10:49:02 AM] Tom Goldstein: Hahahaha
[4/17/23, 11:51:17 AM]      The Fixer        Thanks again for doing that swap.

Question for you. Do you know anyone that can take like 200-1m a month or coin for a wire
transfer and charge a fee ? This guy will start to travel crazy and I need to ﬁnd a long ten
solution out
[4/17/23, 1:55:32 PM] Tom Goldstein: Sorry, I don’t
[4/17/23, 1:56:41 PM]         The Fixer           Ok. No prob. What a pain in the ass this
stun
[4/21/23, 8:44:10 AM]         The Fixer           How things going!
[4/21/23, 9:58:49 AM] Tom Goldstein: Otw to London. How about you?
[4/21/23, 10:00:03 AM]          The Fixer           Nice. Safe trip.
[4/21/23, 10:00:09 AM]          The Fixer           Just got to SD with family
[4/21/23, 10:01:46 AM]          The Fixer           How long you over there?
[4/21/23, 10:02:56 AM] Tom Goldstein: 4 days. Went to               last night and
tonight.
[4/21/23, 10:04:10 AM]          The Fixer           you still have the guy from london info ?
[4/21/23, 10:06:05 AM] Tom Goldstein: Ya
[4/21/23, 10:18:38 AM]          The Fixer           Sounds Good! If he doesn’t get back to
you lmk and I’ll push him
[4/21/23, 10:19:22 AM] Tom Goldstein: Ya we’re all set tyvm
[4/21/23, 10:19:32 AM]          The Fixer           Enjoy it.
[5/1/23, 12:09:38 AM]         The Fixer           Hope you are doing well. In Dubai with the
client that paid with the coin. I have your coin in the wallet ready to go when you are.

Once this trip is over, May 9-11 and he gets everything settled (and I transfer the coin to
cash), I will send over some of the additional owed as well.



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Thank you as always for your support and hope you are enjoying wherever in the world you
are.
[5/4/23, 4:57:54 PM] Tom Goldstein: What crypto is it, please?
[5/4/23, 4:58:36 PM] Tom Goldstein: USDC or USDT and is it on the ETH protocol?
[5/4/23, 9:19:44 PM]        The Fixer          USDC
[5/4/23, 9:19:54 PM]        The Fixer          It’s on the egg protocol corrrct
[5/4/23, 9:19:57 PM]        The Fixer          Correct.
[5/4/23, 9:20:06 PM]        The Fixer          Sorry, I just woke up. Still in Dubai.
[5/4/23, 10:44:18 PM]         The Fixer          It’s on the ETH protocol** sorry really bad
half asleep English. Just lmk which wallet to send to? I’ll do a test transaction ﬁrst then do
rest once you conﬁrm you got it
[5/5/23, 8:53:22 AM] Tom Goldstein: Amazing ty
[5/5/23, 8:56:20 AM]        The Fixer          you're welcome
[5/5/23, 9:25:22 AM] Tom Goldstein:                                                       935B
[5/5/23, 9:28:41 AM]        The Fixer          Thank You.
[5/5/23, 9:30:52 AM]        The Fixer          Just sent 100
[5/5/23, 9:30:55 AM]        The Fixer          Lmk if you got it
[5/5/23, 9:30:59 AM]        The Fixer          And I’ll send rest
[5/5/23, 9:33:03 AM] Tom Goldstein: Received
[5/5/23, 9:34:09 AM]        The Fixer          Sent
[5/5/23, 9:34:16 AM]        The Fixer          If there are any fees. Lmk I’ll wire dinerence
[5/5/23, 9:38:58 AM]        The Fixer          Received ?
[5/5/23, 9:40:59 AM] Tom Goldstein: Received Ty
[5/5/23, 9:42:03 AM]        The Fixer          Thank You. If less than 500k, I’ll pay wire
dinerence.
[5/5/23, 9:43:27 AM] Tom Goldstein: All good
[5/5/23, 9:43:36 AM]        The Fixer          Thank You 🙏
[5/5/23, 9:43:59 AM]        The Fixer          Really appreciate you doing that for me
[5/5/23, 9:44:09 AM] Tom Goldstein: Easy
[5/5/23, 9:44:19 AM]        The Fixer          And I’ll get you paid back next 10 days
[5/5/23, 9:44:25 AM]        The Fixer          Just waiting for his cash to come in
[5/5/23, 9:44:31 AM] Tom Goldstein: I’m totally good. No rush.
[5/5/23, 9:45:03 AM]        The Fixer          Can I have               payment terms
😂😂😂😂
[5/5/23, 9:45:13 AM] Tom Goldstein: 🤦
[5/5/23, 9:45:30 AM]        The Fixer          It’s coming I have a billion dollar deal next
week 🤫
[5/5/23, 9:45:35 AM]        The Fixer          That guy was something else
[5/5/23, 9:45:45 AM] Tom Goldstein: Every next week
[5/5/23, 9:45:51 AM]        The Fixer          We’ve been through a good amount of
humans together
[5/5/23, 9:45:57 AM]        The Fixer          So thanks for always being a real one
[5/5/23, 9:46:06 AM] Tom Goldstein: Some better than others. Same!!



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